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              Exhibit A
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                                    U.S. District Court
                        District of New Jersey [LIVE] (Newark)
                 CIVIL DOCKET FOR CASE #: 2:23-cv-20962-MEF-CLW


PAGE v. RB HEALTH (US) LLC et al                               Date Filed: 10/06/2023
Assigned to: Judge Michael E. Farbiarz                         Jury Demand: Plaintiff
Referred to: Magistrate Judge Cathy L. Waldor                  Nature of Suit: 360 P.I.: Other
Cause: 28:1332 Diversity-Product Liability                     Jurisdiction: Diversity
Plaintiff
MARTHA A. PAGE                                   represented by JAMES E. CECCHI
                                                                CARELLA BYRNE CECCHI BRODY &
                                                                AGNELLO, P.C.
                                                                5 BECKER FARM ROAD
                                                                ROSELAND, NJ 07068
                                                                (973) 994-1700
                                                                Fax: (973) 994-1744
                                                                Email: jcecchi@carellabyrne.com
                                                                ATTORNEY TO BE NOTICED


V.
Defendant
RB HEALTH (US) LLC

Defendant
KENVUE INC.

Defendant
MCNEIL CONSUMER
HEALTHCARE

Defendant
JOHNSON & JOHNSON CONSUMER,
INC.


Date Filed      # Docket Text
10/06/2023      1 COMPLAINT against JOHNSON & JOHNSON CONSUMER, INC., KENVUE INC.,
                  MCNEIL CONSUMER HEALTHCARE, RB HEALTH (US) LLC ( Filing and Admin
                  fee $ 402 receipt number ANJDC-14770943) with JURY DEMAND, filed by MARTHA
                  A. PAGE. (Attachments: # 1 Civil Cover Sheet)(CECCHI, JAMES) (Entered:
                  10/06/2023)
             Case MDL No. 3089 Document 215-3 Filed 10/25/23 Page 3 of 42

10/07/2023      Case assigned to Judge Michael E. Farbiarz and Magistrate Judge Cathy L. Waldor. (jr)
                (Entered: 10/07/2023)
10/12/2023   2 SUMMONS ISSUED as to JOHNSON & JOHNSON CONSUMER, INC., KENVUE
               INC., MCNEIL CONSUMER HEALTHCARE, RB HEALTH (US) LLC. Attached is the
               official court Summons, please fill out Defendant and Plaintiffs attorney information and
               serve. (pnm) (Entered: 10/12/2023)
10/24/2023   3 Letter from James E. Cecchi, Esq. to Hon. Cathy L. Waldor, U.S.M.J. Concerning the Pro
               Hac Vice Admission of Cari Campen Laufenberg and Derek W. Loeser. (Attachments: #
               1 Declaration of James E. Cecchi, # 2 Certification of Cari Campen Laufenberg, # 3
               Certification of Derek W. Loeser, # 4 Text of Proposed Order)(CECCHI, JAMES)
               (Entered: 10/24/2023)



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James E. Cecchi
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Attorney for Plaintiff

[Additional Attorneys On Signature Page]

                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY



 Martha A. Page,                              No. ________________________

                     Plaintiff,               CLASS ACTION COMPLAINT
 v.
                                              DEMAND FOR JURY TRIAL
 RB HEALTH (US) LLC, KENVUE
 INC., MCNEIL CONSUMER
 HEALTHCARE, JOHNSON &
 JOHNSON CONSUMER, INC.

                     Defendants.




      Plaintiff Martha A. Page (“Plaintiff”) brings this action on behalf of herself

and all others similarly situated against Defendants RB Health (US) LLC

(“Reckitt”), Kenvue Inc. (“Kenvue”), McNeil Consumer Healthcare (“McNeil”),

Johnson & Johnson Consumer, Inc (“J&J”) (collectively, “Defendants”). Plaintiff




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makes the following allegations upon information and belief, the investigation of

her counsel, and personal knowledge or facts that are a matter of public record.

                                INTRODUCTION

      1.     By this Complaint, Plaintiff seeks to remedy these harms on behalf of

herself and all similarly situated individuals who purchased over-the-counter nasal

decongestant products containing phenylephrine (“PE”) developed, marketed,

distributed, sold and/or manufactured by Defendants.

      2.     Defendants’ PE products include, but are not limited to:

      •      Benadryl Allergy Plus Cold (Kenvue/McNeil)

      •      Benadryl Allergy Plus Congestion (Kenvue/McNeil)

      •      Children’s Benadryl Allergy Plus Congestion (Kenvue/McNeil)

      •      Tylenol Cold & Flu Severe (Kenvue/McNeil)

      •      Tylenol Cold + Flu + Cough Nighttime Liquid (Kenvue/McNeil)

      •      Tylenol Sinus + Headache (Kenvue/McNeil)

      •      Tylenol Sinus Severe Day (Kenvue/McNeil)

      •      Tylenol Sinus Severe Nighttime (Kenvue/McNeil)

      •      Tylenol Cold + Flu Severe for Day and Nighttime (Kenvue/McNeil)

      •      Tylenol Cold + Flu Severe Day Liquid (Kenvue/McNeil)

      •      Tylenol Extra Strength Cold + Flu Multi-Action Daytime
             (Kenvue/McNeil)

      •      Children’s Tylenol Cold & Flu Liquid (Kenvue/McNeil)

      •      Sudafed PE Cold + Cough (J&J)


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•     Sudafed PE Head Congestion + Flu Severe (J&J)

•     Sudafed PE Head Congestion + Pain (J&J)

•     Sudafed PE Sinus Congestion (J&J)

•     Sudafed PE Sinus Congestion Nighttime (J&J)

•     Sudafed PE Sinus Pressure + Pain (J&J)

•     Sudafed Sinus 12 Hour Pressure + Pain (J&J)

•     Sudafed PE Head Congestion + Mucus (J&J)

•     Sudafed PE Head Congestion + Flu Severe (J&J)

•     Children’s Sudafed PE (J&J)

•     Children’s Sudafed PE Cold + Cough (J&J)

•     PediaCare Daytime Multi-Symptom Cold (J&J)

•     PediaCare Nighttime Multi-Symptom Cold (J&)

•     Delsym Children's Night Time Cough & Cold (Reckitt)

•     Delsym Night Time Multi-Symptom (Reckitt)

•     Mucinex Children's Day Time & Night Time Multi-Symptom Cold
      Value Pack (Reckitt)

•     Mucinex Children's FreeFrom Multi-Symptom Cold & Flu
      Nighttime (Reckitt)

•     Mucinex Children's Multi-Symptom Cold (Reckitt)

•     Mucinex Fast-Max Day & Night (Reckitt)

•     Mucinex Fast-Max Day Severe Cold (Reckitt)

•     Mucinex Fast Max Cold Flu and Sore Throat (Reckitt)

•     Mucinex Fast-Max Day Time Cold & Flu and Night Time Cold & Flu
      Maximum Strength (Reckitt)

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•     Mucinex Fast-Max Day Time Severe Cold and Night Time Cold &
      Flu Maximum Strength (Reckitt)

•     Mucinex Fast-Max Day Time Severe Congestion & Cough and Night
      Time Cold & Flu Maximum Strength (Reckitt)

•     Mucinex Fast-Max Night Cold & Flu (Reckitt)

•     Mucinex Fast-Max Night Time Cold & Flu (Reckitt)

•     Mucinex Fast-Max Severe Cold (Reckitt)

•     Mucinex Fast-Max Severe Congestion & Cough (Reckitt)

•     Mucinex FreeFrom Cold & Flu Daytime (Reckitt)

•     Mucinex FreeFrom Cold & Flu Nighttime (Reckitt)

•     Mucinex Nightshift Cold & Flu (Reckitt)

•     Mucinex Nightshift Cold & Flu Clear & Cool (Reckitt)

•     Mucinex Nightshift Severe Cold and Flu (Reckitt)

•     Mucinex Nightshift Sinus (Reckitt)

•     Mucinex Nightshift Sinus Clear & Cool (Reckitt)

•     Mucinex Sinus Max (Reckitt)

•     Mucinex Sinus-Max Day & Night (Reckitt)

•     Mucinex Sinus-Max Day & Night (Day) (Reckitt)

•     Mucinex Sinus-Max Day and Night Maximum Strength (Reckitt)

•     Mucinex Sinus-Max Pressure, Pain & Cough (Reckitt)

•     Mucinex Sinus-Max Severe Congestion & Pain Maximum Strength
      (Reckitt)




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Collectively, these products and Defendants’ other PE products are referred

hereafter as the “Products.”

      3.     Defendants market these Products as providing nasal decongestant

relief and attribute the Products’ ability to provide nasal decongestant relief to the

inclusion of one active ingredient: PE.

      4.     Plaintiff and the Class reviewed and relied on this marketing when

purchasing Defendants’ products including PE.

      5.     On September 11 and 12, 2023, an advisory committee to the U.S.

Food & Drug Administration (“FDA”) unanimously agreed that PE, when taken

orally, is not effective at relieving oral congestion. However, neither the FDA nor

the advisory committee identified any safety issues with use of PE when taken

orally at the recommended dose.

      6.     Defendants knew and/or had reason to know, at all times material to

Plaintiff’s claims, that their Products were no more effective than placebo.

Accordingly, Defendants’ misrepresentations regarding the Products are false,

misleading, and likely to deceive the public.

      7.     Had Plaintiff and the Class known that these Products were ineffective

as nasal and sinus decongestants when taken orally, she would not have purchased

them or would have paid substantially less for them.




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      8.     Accordingly, Plaintiff, on behalf of herself and those similarly

situated, seeks to hold Defendants accountable for their deception,

misrepresentation, omissions, and breach of their obligations under applicable state

and federal consumer protection laws.

                                     PARTIES
Plaintiff Page

      9.     Plaintiff Martha A. Page is a resident of Nueces County, Texas.

      10.    Plaintiff purchased Defendants’ Products, including but not limited to

Sudafed PE Sinus Congestion (J&J), Benadryl Allergy Plus Congestion

(Kenvue/McNeil), Mucinex Sinus-Max Pressure, Pain & Cough (Reckitt) during

the Class Period.

      11.    Plaintiff purchased Defendants’ Products for many years to provide

relief from sinus and nasal congestion. When making these purchases, Plaintiff

relied on Defendants’ marketing that Defendants’ Products would be effective in

providing relief from congestion.

      12.    None of these orally ingested Products was effective in relieving nasal

congestion. Had Defendants disclosed that phenylephrine is not effective in

relieving nasal/sinus congestion, Plaintiff Page would not have purchased the

products to orally remedy her nasal/sinus congestion or would have paid

significantly less for them.



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Defendants

      13.    Defendant Kenvue Inc. is a Delaware consumer health company, and

formerly the consumer healthcare division of Johnson & Johnson Consumer, Inc.

Kenvue is headquartered in Skillman, New Jersey. During the Class Period,

Kenvue acquired Defendant McNeil Consumer Healthcare. Defendant Kenvue has

been engaged in the manufacturing, marketing, sale and distribution of misbranded

and ineffective phenylephrine products, including but not limited to, its Benadryl

and Tylenol product lines throughout the United States.

      14.    Defendant McNeil Consumer Healthcare is wholly owned by

Defendant Kenvue, with headquarters in Fort Washington, Pennsylvania.

Defendant McNeil has been engaged in the manufacturing, marketing, sale and

distribution of misbranded and ineffective phenylephrine products, including but

not limited to, its Benadryl and Tylenol product lines throughout the United States.

      15.    Defendant Johnson & Johnson Consumer, Inc. is a New Jersey based

medical corporation, with its headquarters in New Brunswick, New Jersey. J&J has

been engaged in the manufacturing, marketing, sale and distribution of misbranded

and ineffective phenylephrine products, including but not limited to, its Sudafed,

Tylenol and Benadryl product lines throughout the United States.

      16.    Defendant RB Group (US) LLC is a Delaware limited liability

corporation with its headquarters and principal place of business located in


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Parsippany, New Jersey. Reckitt is a wholly-owned subsidiary of Reckitt

Benckiser Group plc, a public limited company registered in England and Wales.

Reckitt has been engaged in the manufacturing, marketing, sale and distribution of

misbranded and ineffective phenylephrine products, including but not limited to,

its Mucinex and Delsym product lines throughout the United States.

                          JURISDICTION AND VENUE

      17.    This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1332(d)(2)(A), as modified by the Class Action Fairness Act of 2005

(“CAFA”), 28 U.S.C. § 1711, et seq., because at least one member of the Class, as

defined below, is a citizen of a different state than Defendants, there are more than

100 members of the Class, and the aggregate amount in controversy exceeds

$5,000,000, exclusive of interest and costs. This Court also has diversity

jurisdiction over this action pursuant to 28 U.S.C. § 1332(a).

      18.    The Court has personal jurisdiction over this action because each

Defendant conducts substantial business in this District, such that Defendants have

significant, continuous, and pervasive contacts with the State of New Jersey. As

such, Defendants have purposefully availed themselves of the laws and benefits of

doing business in this District such that they could reasonably foresee litigation

being brought in this District. Each of the Defendants markets and distributes its

products in New Jersey.



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        19.   The Court additionally and independently has personal jurisdiction

over Defendants Kenvue, J&J and Reckitt, each of which operate from

headquarters in New Jersey as indicated above.

        20.   Venue is proper in this District under 28 U.S.C. § 1391(a) through (d)

because Defendants transact business within this District including marketing and

selling Products.

                           FACTUAL ALLEGATIONS

A.      Over-the-Counter Oral Decongestants
        21.   The market for nasal decongestants sees tens of billions of dollars in

annual sales.1 PE is the listed active ingredient in at least 250 orally administered

nasal decongestants. PE comes in two varieties, phenylephrine hydrochloride

(“PEH”) and phenylephrine bitartrate (“BEP”). It has been used as the active

ingredient in over-the-counter (“OTC”) drugs for more than 75 years.

        22.   Among the drugs that use PE are household staples such as Sudafed

PE, Tylenol Cold & Flu Severe, Nyquil Severe Cold & Flu, Advil Sinus




1
    Nasal Spray Industry Analysis, GLOBAL MARKET INSIGHTS (May 2023), https://
    www.gminsights.com/industry-analysis/nasal-spray-market#:~:text=Nasal%
    20Spray%20Market%20size%20was,6.7%25%20from%202023%20to%202032
    (last visited Sept. 29, 2023); C. Jewett & R. Rabin, A Decongestant in Cold
    Medicines Doesn’t Work at All, an F.D.A. Panel Says, N. Y. TIMES (Sept. 12,
    2023), https://www.nytimes.com/2023/09/12/health/cold-medicine-decongestant-
    fda.html? (last visited Sept. 29, 2023).

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Congestion and Pain, and Mucinex Sinus Max. Together, these and other oral

decongestants containing PE accounted for nearly $1.8 billion in sales in 2022.2

      23.    The primary compound alternatively relied on as an active ingredient

in oral decongestants is pseudoephedrine. But pseudoephedrine’s use has declined

over the years as federal law has restricted access to it.3 Products containing

pseudoephedrine are placed behind store counters or in locked cabinets, customers

must be 18 or over and provide identification, and may only purchase a limited

number of tablets at a time. Restrictions exist because of pseudoephedrine’s role in

the production of methamphetamine and were established by Congress’s passage

of the Combat Methamphetamine Epidemic Act of 2005. 4

      24.    Pseudoephedrine’s decline has led to PE’s rise. Aiming to avoid

reduced sales because of pseudoephedrine restrictions and develop OTC

alternatives, drug manufacturers turned to PE. By 2022, pseudoephedrine

accounted for only around 20% of the oral nasal decongestant market while PE

constituted closer to 80%.5


2
  C. Jewett & R. Rabin, supra note 1.
3
  C. Jewett & R. Rabin, supra note 1.
4
  Methamphetamine Research Report, NIH: NATIONAL INSTITUTE ON DRUG ABUSE
  (October 2019), https://nida.nih.gov/publications/research-
  reports/methamphetamine/how-methamphetamine-manufactured (last visited
  Sept. 29, 2023).
5
  Matthew Perrone, Popular nasal decongestant doesn’t actually relieve
  congestion, FDA advisers say, PBS NEWSHOUR (Sept. 12, 2023),
  https://www.pbs.org/newshour/health/popular-nasal-decongestant-doesnt-

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B.    PE’s Efficacy
      25.    But as drug manufactures turned their focus on marketing products

containing PE, they ignored evidence that it is ineffective when taken orally. 6

      26.    PE is a vasoconstrictor often administered intravenously in hospital

settings to address low blood pressure resulting from vasodilation. 7 When

administered intranasally through a spray, its vasoconstricting properties operate to

reduce nasal congestion.8 PE’s decongestant effect is purportedly also present

when taken orally. 9

      27.    Not every method of PE delivery is equally efficacious. Studies

reaching as far back as 1933 suggested that orally administered PE does not affect

blood pressure until reaching dosage levels close to or over 100 mg. 10 By contrast,

intravenous application typically sees several doses of between 50 and 100

micrograms, one thousandth the concentration. 11



  actually-relieve-congestion-fda-advisers-say#:%7E:text=WASHINGTON%
  20(AP)%20%E2%80%94%20The%20leading,the%
  20long%2Dquestioned%20drug%20ingredient (last visited Sept. 29, 2023).
6
  C. Jewett & R. Rabin, supra note 1.
7
  Phenylephrine StatPearl, NIH: NATIONAL LIBRARY OF MEDICINE (July 10, 2023),
  https://www.ncbi.nlm.nih.gov/books/NBK534801/ (last visited Sept. 29, 2023).
8
  See Nonprescription Drugs Advisory Committee, Efficacy of Oral Phenylephrine
  as a Nasal Decongestant (Sept. 12, 2023) at 13,
  https://www.fda.gov/media/171915/download (last visited Sept. 29, 2023).
9
  C. Jewett & R. Rabin, supra note 1.
10
   Nonprescription Drugs Advisory Committee, supra note 8.
11
   Phenylephrine StatPearl, NIH: NATIONAL LIBRARY OF MEDICINE (July 10, 2023),
  https://www.ncbi.nlm.nih.gov/books/NBK534801/ (last visited Sept. 29, 2023).

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       28.    A 1976 proposed FDA rule preliminarily approved PEH’s suitability

as an active ingredient in orally administered nasal decongestants at only 10 mg. 12

It largely relied on a series of in-house studies submitted by representatives of

pharmaceutical companies.13 Of the remaining two studies with evaluable data, the

first was taken to indicate efficacy despite demonstrating no differences between

active versus placebo groups and the second, by Columbia University, indicated a

lack of efficacy. 14

       29.    A comment during the rulemaking process criticized the proposal,

summarized the state of unpublished studies as “split evenly between mild

successes and total failures,” and cited a published study indicating no efficacy

even in high doses. 15 The advisory panel acknowledged that the data were “not



12
   Establishment of a Monograph for OTC Cold, Cough, Allergy, Bronchodilator
  and Antiasthmatic Products, 41 F.R. 38420 (Sept. 9, 1976), https://
  archives.federalregister.gov/issue_slice/1976/9/9/38248-38441.pdf#page=131
  (last visited Sept. 29, 2023).
13
   Ronald Eccles, Substitution of phenylephrine for pseudoephedrine as a nasal
  decongestant. An illogical way to control methamphetamine abuse, 63(1) BR. J.
  CLINICAL PHARMACOLOGY 10 (Jan. 2007) ), https://www.ncbi.nlm.nih.gov/pmc/
  articles/PMC2000711/ (last visited Sept. 29, 2023); Nonprescription Drugs
  Advisory Committee, supra note 8, at 17.
14
   Nonprescription Drugs Advisory Committee, supra note 8, at 18-20.
15
   See Cold, Cough, Allergy, Bronchodilator, and Antiasthmatic Drug Products for
  Over-the-Counter Human Use;
Tentative Final Monograph for Over-the-Counter Nasal Decongestant Drug
  Products, 50 F.R. 2226 (Jan. 15, 1985),
  https://archives.federalregister.gov/issue_slice/1985/1/15/2198-
  2241.pdf#page=29 (last visited Sept. 29, 2023).

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strongly indicative of efficacy” but nevertheless recommended that the FDA

categorize oral PEH as safe and effective. 16

      30.    Based on these data, the FDA declared PEH effective at a 10 mg dose

in a tentative final monograph in 1985 and a final monograph in 1994.17 It added

PEB to the monograph in 2006, concluding it is comparable to PEH. 18

      31.    The monograph designated PE-containing products as generally

recognized as safe and effective (GRASE) when taken orally at the specified

dosage.19 This status permits pharmaceutical companies such as the Defendants to

market products containing GRASE ingredients directly to consumers as over-the-

counter medications.

      32.    However, a 2007 meta-analysis of the scientific literature concluded

that insufficient evidence supported oral PE being effective as a nasal decongestant

at the monographed dosage. It showed instead that PE is no more effective than a

placebo.20




16
   Id.
17
   Nonprescription Drugs Advisory Committee, supra note 8, at 11-12.
18
   Amended Final Monograph, 71 F.R. 43358 (Aug. 1, 2006), https://
  www.govinfo.gov/content/pkg/FR-2006-08-01/pdf/E6-12265.pdf (last visited
  Sept. 29, 2023).
19
   Nonprescription Drugs Advisory Committee, supra note 8, at 18-20.
20
   R. Hatton et al., Efficacy and safety of oral phenylephrine: systematic review and
  meta-analysis, 41(3) ANN. OF PHARMOCOTHERAPY 381,
  https://pubmed.ncbi.nlm.nih.gov/17264159/ (last visited Sept. 29, 2023).

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      33.    Citizen petitioners relying on the meta-analysis challenged the FDA’s

PE approval.21 In addition to the meta-analysis, they presented two recent placebo-

controlled studies from reputable laboratories that demonstrated no benefit to PE

over a placebo. 22 Both studies were published subsequently, in 2009.23

      34.    After considering the petition, the FDA’s Nonprescription Drugs

Advisory Committee recommended further investigation.24 It suggested trials to

evaluate individuals’ subjective symptom scores rather than using a “nasal airway

resistance” score relied on in many of the studies reviewed for the initial

monograph. 25 By doing so, the committee did no more than insist on established

best practices.26

      35.    By 2016, two larger studies had been conducted and published

confirming that PE is ineffective when taken orally. 27 A third study, sponsored by


21
   Nonprescription Drugs Advisory Committee, supra note 8, at 23.
22
   Id. at 28, 37.
23
   Day et al., Efficacy of loratadine-montelukast on nasal congestion in patients
  with seasonal allergic rhinitis in an environmental exposure unit, 102(4) ANN.
  ALLERGY ASTHMA & IMMUNOLOGY 328,
  https://pubmed.ncbi.nlm.nih.gov/19441605/ (last visited Sept. 29, 2023); Horak et
  al., A placebo-controlled study of the nasal decongestant effect of phenylephrine
  and pseudoephedrine in the Vienna Challenge chamber, 102(2) ANN. ALLERGY
  ASTHMA & IMMUNOLOGY 116, https://pubmed.ncbi.nlm.nih.gov/19230461/ (last
  visited Sept. 29, 2023).
24
   Nonprescription Drugs Advisory Committee, supra note 8, at 30.
25
   Id.
26
   Id. at 56.
27
   Meltzer et al., Oral Phenylephrine HCI for Nasal Congestion in Seasonal
  Allergic Rhinitis: A Randomized, Open-label, Placebo-controlled Study, 3(5) J.

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Johnson & Johnson Consumer Inc., also indicated that PE is ineffective but was

never published.28

      36.   The development of further scholarship precipitated a second citizen

petition in 2015, now supported by the American Academy of Allergy, Asthma &

Immunology. 29 It sought the removal of oral PE from the monograph.

      37.   In 2018, while its consideration of PE was pending, the FDA released

industry guidelines concerning the appropriate method by which to determine the

efficacy of treatments of allergic rhinitis—congestive symptoms created by an




  ALLERGY & CLINICAL IMMUNOLOGY IN PRACTICE 702 (Sept. 2015),
  https://pubmed.ncbi.nlm.nih.gov/26143019/ (last visited Sept. 29, 2023); Meltzer
  et al., Phenylephrine hydrochloride modified-release tablets for nasal congestion:
  a randomized, placebo-controled trial in allergic rhinitis patients, 116(1) ANN.
  OF ALLERGY ASTHMA & IMMUNOLOGY 702 (Jan. 2016),
  https://pubmed.ncbi.nlm.nih.gov/26560899/ (last visited Sept. 29, 2023). See also
  Nonprescription Drugs Advisory Committee, supra note 8, at 42-51.
28
   Randomized, Double-blind, Placebo-Controlled, Efficacy Study of a New
  Formulation of Phenylephrine HCL in the Common Cold, CLINICALTRIALS.GOV
  (June 4, 2019), https://classic.clinicaltrials.gov/ct2/show/NCT03339726 (last
  visited Sept. 29, 2023). See also Nonprescription Drugs Advisory Committee,
  supra note 8, at 51-54.
29
   Citizen’s Petition, CITELINE (Nov. 4, 2015), https://pink.citeline.com/-
  /media/pmbi-old-site/supporting-documents/the-tan-sheet/23/45/45-citizens-
  petitionphenylephrinenovember-2015.pdf (last visited Sept. 29, 2023); American
  Academy of Allergy, Asthma & Immunology and American College of Allergy,
  Asthma & Immunology’s Statement of Support of Citizens’ Petition for Removal
  of Oral Phenylephrine from Over-the-Counter Status, ACAII.ORG,
  https://college.acaai.org/wp-content/uploads/2022/05/oral-phenylephrine-final-
  statement-in-support-of-citizens-petition-05-4-22.pdf. (last visited Sept. 29,
  2023).

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allergic reaction.30 Consistent with the 2007 recommendation in the PE context, it

moved toward subjective symptom scores rather than suggesting use of nasal

airway resistance.

      38.    Meanwhile, thorough review by the FDA’s clinical and clinical

pharmacology teams progressed. The teams concluded in a 2023 report that

clinically relevant responses to orally administered PE do not occur until doses of

around 80 to 100 mg. 31 The teams also scrutinized and criticized the studies

presented to the panel that originally affirmed PE’s efficacy. They described these

studies as “highly problematic in both design and methodology” and not meeting

modern research standards.32

      39.    Consequently, on September 11 and 12 of this year, an advisory

committee to the FDA unanimously concluded that orally administered PE is

ineffective to treat nasal congestion; it is no better than a placebo. 33 Neither the

FDA nor the advisory committee identified any safety issues with PE taken orally

at recommended dosages. Withdrawal of PE’s GRASE designation seems likely to

follow.


30
   Allergic Rhinitis: Developing Drug Products for Treatment, Guidance for
  Industry, FDA.GOV (Sept. 2018), https://www.fda.gov/files/drugs/published/
  Allergic-Rhinitis--Developing-Drug-Products-for-Treatment-Guidance-for-
  Industry.pdf (last visited Sept. 29, 2023).
31
   Nonprescription Drugs Advisory Committee, supra note 8, at 31.
32
   See also id. at 54.
33
   C. Jewett & R. Rabin, supra note 1.

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          40.   Defendants had access to all of this information. Thus, since at least

2007, the Defendants either knew or, as sophisticated drug manufacturers, should

have known that the best available scientific data, gathered using the most modern

research methods, demonstrate that PE is ineffective to treat nasal decongestion

when taken orally. By 2016, with the addition of two more large and reliable

studies and with no further studies indicating otherwise, the scientific consensus

was unmistakable. By 2018, the FDA’s move toward use of subjective symptom

scores in its industry guidelines placed the Defendants on further notice not to rely

on older studies using nasal airway resistance.


C.        Defendants’ False Advertising
          41.   Defendants have to this day persisted in aggressively and

misleadingly advertising PE-containing OTC orally administered nasal

decongestants to consumers across the United States. Defendants have falsely

presented their products as effective and thereby accrued billions of dollars in

profit.




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      42.    For instance, online marketing for defendant Johnson & Johnson’s
Sudafed PE Sinus Congestion still describes it as “provid[ing] maximum-strength
sinus pressure and nasal congestion relief with a non-drowsy formula that contains
phenylephrine HCI as a nasal decongestant.” 34 Its packaging reflects this




promise35:
Johnson & Johnson sold its Tylenol Cold & Flu product using much the same
representations on its packaging, listing PE as the active ingredient relieving nasal
congestion.36

      43.    Johnson & Johnson’s successors in the manufacture and sale of these

drugs—defendants Kenvue Inc. and McNeil Consumer Healthcare—have similarly



34
   SUDAFED PE® Sinus Congestion, SUDAFED.COM,
  https://www.sudafed.com/products/sudafed-pe-sinus-congestion (last visited Sept.
  25, 2023).
35
   Screenshots taken from SUDAFED PE® Sinus Congestion, SUDAFED.COM,
  https://www.sudafed.com/products/sudafed-pe-sinus-congestion (last visited Sept.
  25, 2023).
36
   Label: Tylenol Cold Plus Flue Severe Day/Night, NIH NATIONAL LIBRARY OF
  MEDICINE, https://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?setid=2ddb86a8-
  e34c-4a03-a60a-d3fedaf90608 (last visited Sept. 25, 2023).

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marketed their products based on inaccurate statements of PE’s efficacy. For

instance, online marketing for Benadryl Allergy Plus Congestion still describes it

as providing “relief from sinus pressure and nasal congestion.”37 Its packaging

reflects this promise38:




      44.    This approach is typical of other companies’ behavior when selling
orally administered nasal decongestants. Defendant Reckitt marketed its Mucinex
Sinus-Max Pressure, Pain & Cough as a one-stop solution to common cold




37
   Benadryl Allergy Plus Congestion, BENADRYL.COM,
  https://www.benadryl.com/products/benadryl-allergy-plus-congestion (last visited
  Oct. 2, 2023).
38
   Screenshot taken from Benadryl Allergy Plus Congestion, BENADRYL.COM,
  https://www.benadryl.com/products/benadryl-allergy-plus-congestion (last visited
  Oct. 2, 2023).

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symptoms, including nasal congestion. 39 Its packaging listed PE as the only active
ingredient addressing congestion issues.40




      45.    Regarding these and their other PE-containing products, the

Defendants promised consumers relief from sinus and nasal congestion. They

advertised PE as the active ingredient that would provide that relief. They did so

through the products’ labeling and in other communications and marketing. They


39
   Mucinex Sinus-Max Pressure, Pain & Cough Liquid Gels, MUCINEX.COM,
  https://www.mucinex.com/products/mucinex-sinus-max-max-strength-pressure-
  pain-cough-liquid-gels-16ct (last visited Oct. 4, 2023).
40
   Screenshot taken from Mucinex Sinus-Max Pressure, Pain & Cough Liquid
  Gels, MUCINEX.COM, https://www.mucinex.com/products/mucinex-sinus-max-
  max-strength-pressure-pain-cough-liquid-gels-16ct (last visited Oct. 4, 2023).

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acted despite the state of the scientific literature and without warning consumers

that the products were ineffective for their advertised purpose.

      46.       Plaintiff and the Class Members reasonably relied on the Defendants’

deceptive marketing, purchased their products, and suffered economic damages

including the cost of their purchase.


D.    Tolling of Applicable Statutes of Limitations
      47.       All claims in this complaint have been brought within the applicable

statutes of limitations because the statutes have been tolled by operation of the

discovery rule. Plaintiff and Class Members did not discover the existence of their

injuries until shortly before filing this action. Nor, as unsophisticated consumers,

could they have done so through the application of reasonable diligence. Instead,

they reasonably relied on Defendants’ representations of PE’s efficacy as an orally

administered nasal decongestant. Only once the FDA advisory committee released

its September 2023 decision did Plaintiff and Class Members become aware of

their injuries and did their claims accrue. As a result, under the discovery rule, the

applicable statutes of limitations did not begin to run until the committee released

its decision.

      48.       The statutes of limitations applicable to this complaint’s claims have

also been tolled by the equitable tolling doctrine. Until recently, Plaintiff and Class

Members could not by the exercise of reasonable diligence have discovered


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essential information bearing on their claims. Any applicable limitations are

therefore tolled.

      49.    Additionally, and alternatively, the statutes of limitations are tolled by

application of the equitable estoppel or fraudulent concealment doctrine.

Defendants, through their continuing conduct, have not only mislead consumers

about PE’s efficacy to induce sales but have further concealed the truth about PE

through misinformation, actively preventing Plaintiff from not only discovering

any injury but promptly suing even after injury is discovered. Defendants are

estopped from relying on any applicable limitations period as a result.

                        CLASS ACTION ALLEGATIONS

      50.    Plaintiff brings this action as a class action under Rule 23 of the

Federal Rules of Civil Procedure, on behalf of the following proposed classes

(collectively referred to as “Class”):

      All natural persons in the United States who purchased one or more of
      Defendant J&J’s Products in the United States for personal or
      household use (“Nationwide J&J Class”).


      All natural persons in the United States who purchased one or more of
      Defendant Kenvue’s Products in the United States for personal or
      household use (“Nationwide Kenvue Class”).


      All natural persons in the United States who purchased one or more of
      Defendant McNeil’s Products in the United States for personal or
      household use (“Nationwide McNeil Class”).



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      All natural persons in the United States who purchased one or more of
      Defendant Reckitt’s Products in the United States for personal or
      household use (“Nationwide Reckitt Class”).


      51.    In addition, the state subclasses are defined as follows:

      All natural persons in the state of Texas who purchased one or more
      of J&J’s Products in the State of Texas for personal or household use
      (“Texas State J&J Subclass”).


      All natural persons in the state of Texas who purchased one or more
      of Kenvue’s Products in the State of Texas for personal or household
      use (“Texas State Kenvue Subclass”).


      All natural persons in the state of Texas who purchased one or more
      of McNeil’s Products in the State of Texas for personal or household
      use (“Texas State McNeil Subclass”).


      All natural persons in the state of Texas who purchased one or more
      of Recikitt’s Products in the State of Texas for personal or household
      use (“Texas State Reckitt Subclass”).


      52.    Numerosity and Ascertainability: The number of Class Members is

so numerous that joinder of all Class Members is impracticable. Plaintiff does not

know the exact size of the Class or identity of the Class Members but, upon

information and belief, believes there to be at least tens of thousands of purchasers

of Defendants’ Products who have been damaged by Defendants’ conduct as




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alleged herein. Class Members may also be readily identified from Defendants’

records.

      53.   Commonality and Predominance: This action involves common

questions of law and fact which predominate over any question solely affecting

individual Class Members. These common questions include:

      •     whether Defendants’ Products contained phenylephrine;

      •     whether Defendants’ marketing statements are false, misleading, or

            objectively reasonably likely to deceive;

      •     whether Defendants’ alleged conduct constitutes violation of the laws

            asserted;

      •     whether Defendants’ alleged conduct violates public policy;

      •     whether Defendants engaged in false and/or misleading advertising;

      •     whether Defendants were unjustly enriched as a result of their

            labeling, marketing, advertising and/or selling of the Products;

      •     whether Plaintiff and Class Members are entitled to damages and/or

            restitution and the proper measure of that loss; and

      •     whether Plaintiff and Class Members are entitled to injunctive relief to

            prevent Defendants from continuing to market and sell Products that

            lack efficacy.




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      54.    Typicality: Plaintiff’s claims are typical of the other Class Members’

claims because all Class Members were comparably injured through Defendants’

substantially uniform misconduct, as described above. Plaintiff is advancing the

same claims and legal theories on behalf of herself and all other members of the

Class that she represents, and there are no defenses that are unique to Plaintiff. The

claims of Plaintiff and Class Members arise from the same operative facts and are

based on the same legal theories.

      55.    Adequacy: Plaintiff is an adequate Class representative because her

interests do not conflict with the interests of the other members of the Class she

seeks to represent; Plaintiff has retained counsel competent and experienced in

complex class action litigation; and Plaintiff intends to prosecute this action

vigorously. The Class’s interest will be fairly and adequately protected by Plaintiff

and her counsel.

      56.    Superiority: A class action is superior to any other available means

for the fair and efficient adjudication of this controversy, and no unusual

difficulties are likely to be encountered in the management of this class action. The

damages and other detriment suffered by Plaintiff and other Class Members are

relatively small compared to the burden and expense that would be required to

individually litigate their claims against Defendants, so it would be virtually

impossible for the Class Members to individually seek redress for Defendants’


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wrongful conduct. Even if Class Members could afford individual litigation, the

court system could not: individualized litigation creates a potential for inconsistent

or contradictory judgments, increases the delay and expense to the parties, and

increases the expense and burden to the court system. By contrast, the class action

device presents far fewer management difficulties and provides the benefits of

single adjudication, economy of scale, and comprehensive supervision by this

Court.

                                CAUSES OF ACTION

A.       Claims Brought on behalf of the Nationwide Class:
                                        UNJUST ENRICHMENT
         57.   Plaintiff realleges and incorporates by reference the allegations

contained in each of the preceding paragraphs as if fully set forth herein.

         58.   Plaintiff and Class Members conferred a monetary benefit on

Defendants in the form of monetary payments from purchases of Defendants’

Products.

         59.   As a result of Defendants’ wrongful and deceptive acts alleged herein,

Defendants knowingly and voluntarily accepted and retained wrongful benefits in

the form of money paid by the Plaintiff and Class Members when they purchased

Defendants’ Products.




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      60.     In so doing, Defendants acted with conscious disregard for the rights

of Plaintiff and Class Members.

      61.     Under principles of equity and good conscience, Defendants should

not be permitted to retain money belonging to Plaintiff and Class Members

because Defendants engaged in wrongful and deceptive acts resulting in Plaintiff

overpaying for Defendants’ Products.

      62.     Defendants should be compelled to disgorge into a common fund for

the benefit of Plaintiff and the Class all unlawful or inequitable proceeds received

by Defendants. A constructive trust should be imposed upon all unlawful and

inequitable sums received by Defendants traceable to Plaintiff and the Class.

                              BREACH OF IMPLIED WARRANTY OR
                              MERCHANTABILITY
      63.     Plaintiff realleges and incorporates by reference the allegations

contained in each of the preceding paragraphs as if fully set forth herein.

      64.     At all times relevant, all fifty States and the District of Columbia and

Puerto Rico have codified and adopted the provisions of the Uniform Commercial

Code governing the implied warranty of merchantability and fitness for ordinary

purpose. 41


41
  At all times relevant all fifty States and the District of Columbia and Puerto Rico
 have codified and adopted the provisions of the Uniform Commercial Code: Ala.
 Code § 7-2-313; Alaska Stat. § 45.02.313; Ariz. Rev. Stat. Ann. § 47-2313; Ark.
 Code. Ann. § 4-2-313; Cal. Corn. Code § 2313; Cob. Rev. Stat. § 4-2-313; Conn.

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      65.    Defendants were at all times a “merchant” within the meaning of

Article 2 of the U.C.C., as codified under applicable law with respect to the

Products which were sold to Plaintiff.

      66.    The Products are and were “goods” within the meaning of Article 2 of

the U.C.C., as codified under applicable law.

      67.    Each of the Defendants was obligated to provide Plaintiff and the

Class Members Products that were merchantable quality, were reasonably fit for

the ordinary purpose for which they were sold and conformed to standards of trade.

      68.    Defendants impliedly warranted that their Products were of

merchantable quality and fit for their ordinary purpose.




 Gen. Stat Ann. § 42a-2-313; 6 Del. Code. § 2¬313; D.C. Code. § 28:2-313; Fla.
 Stat. Ann. § 672.313; Ga. Code. Ann. § 11-2-313; Haw. Rev. Stat § 490:2- 313;
 Idaho Code § 28-2-313; 810 III. Comp. Stat Ann. 5/2-313; Ind. Code Ann. § 26-
 1-2-313; Kan. Stat. Ann. § 84-2-313; Ky. Rev. Stat. Ann. § 355.2-313; 11 Me.
 Rev. Stat. Ann. § 2-313; Md. Code. Ann. § 2-313; Mass. Gen. Law Ch. 106 § 2-
 313; Mich. Comp. Laws Ann. § 440.2313; Minn. Stat. Ann. § 3361-313; Miss.
 Code Ann. § 75-2-313; Mo. Rev. Stat. § 400.2-313; Mont Code Ann. § 30-2-313;
 Nev. Rev. Stat. U.C.C. § 104.2313; N.H. Rev. Ann. § 382-A:2-313; NJ. Stat Ann.
 § 12A:2-313; N.M. Stat Ann. § 55-2-313; N.Y. U.C.C. Law § 2-313; N.C. Gen.
 Stat Ann. § 25-2-313; N.D. Stat. § 41-02-313; Ohio Rev. Code Ann. § 1302.26;
 Okla. Stat. tit. 12A § 2-313; Or. Rev. Stat. ;72.3130; 13 Pa. C.S. § 2313; P.R.
 Laws. Ann. Tit. 31, § 3841, et seq.; R.I. Gen. Laws § 6A-2-313; S.C. Code Ann.
 § 36-2-313; S.D. Stat. § 57A-2-313; Tenn. Code Ann. § 47-2-313; Tex. Bus. &
 Com. Code Ann. § 2-313; Utah Code Ann. § 70A-2-313; Va. Code § 8.2¬313;
 Vt. Stat. Ann. 9A § 2-313; W. Va. Code § 46-2-313; Wash. Rev. Code § 62A 2-
 313; Wis. Stat. Ann. § 402.313; and Wyo. Stat § 34.1-2-313.

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      69.    Defendants breached their implied warranties because their Products

were not of merchantable quality and fit for their ordinary purpose.

      70.    Defendants’ breaches of implied warranties were a direct and

proximate cause of Plaintiff’s and the other Class Members damages.

                              FRAUD BY OMISSION/CONCEALMENT
      71.    Plaintiff realleges and incorporates by reference the allegations

contained in each of the preceding paragraphs as if fully set forth herein.

      72.    Defendants made material omissions concerning a presently existing

or past fact in that, for example, Defendants did not fully and truthfully disclose to

Plaintiff and Class Members the true nature of the effectiveness of their Products.

Defendants intentionally and knowingly falsely concealed, suppressed and/or

omitted material facts including as to the standard, quality or grade of their

Products. These materials facts, as set forth above, were material because Plaintiff

and Class Members reasonably attached importance to them when purchasing

Defendants’ Products.

      73.    Defendants had a duty to disclose these omitted facts because they

were known and/or accessible only to Defendants due to their exclusive and

superior knowledge of the Products.

      74.    Defendants failed to disclose these material facts with the intent to

induce Plaintiff and other Class Members to purchase their Products.



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      75.    Plaintiff and Class Members placed trust and confidence in

Defendants due to their status as merchants of healthcare related products.

      76.    Plaintiff and Class Members would not have purchased Defendants’

Products but for Defendants’ omissions and concealment of material facts

regarding the nature and quality of the Products or would have paid less for the

Products.

      77.    As a result of Defendants’ omissions, Plaintiff and other Class

Members have suffered actual damages including, but not limited to, their lost

benefit of the bargain and overpayment of purchase of the diminished intrinsic

value of the Products.

      78.    Defendants knew their concealment and suppression of material facts

was false and misleading and knew the effect of concealing those material facts.

      79.    Defendants acted with malice, oppression, and fraud.

      80.    Plaintiff and Class Members reasonably relied on Defendants’

knowingly false concealment and omissions. As a direct and proximate result of

Defendants’ omissions and active concealment of material facts regarding the

Products, Plaintiff and Class Members have suffered actual damages in an amount

to be determined at trial.




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B.    Claims Brought on behalf of the Texas State Subclass:

                    VIOLATIONS OF THE TEXAS DECEPTIVE TRADE
               PRACTICES CONSUMER PROTECTION ACT
                 Tex. Bus. & Com. Code Ann. § 17.41, et. seq.
      81.    Plaintiff realleges and incorporates by reference the allegations

contained in each of the preceding paragraphs as if fully set forth herein.

      82.    Plaintiff brings this claim pursuant to the Texas Deceptive Trade

Practices Consumer Protection Act, Tex. Bus. & Com. Code Ann. § 17.41, et. seq.,

individually and on behalf of the Texas State Subclasses who were subject to

Defendants’ above-described conduct.

      83.    Plaintiff and Defendants are “persons” within the meaning of Tex.

Bus. & Com. Code Ann. § 17.45(3).

      84.    Plaintiff and Class Members are “consumers” within the meaning of

Tex. Bus. & Com. Code Ann. § 17.45(4).

      85.    Defendants’ Products are “goods” within the meaning of Tex. Bus. &

Com. Code Ann. § 17.45(1).

      86.    Defendants were engaged in “trade” and/or “commerce” within the

meaning of Tex. Bus. & Com. Code Ann. § 17.45(6).

      87.    The Texas Deceptive Trade Practices Consumer Protection Act

(“Texas DTPA”) prohibits “[f]alse, misleading, or deceptive acts or practices in the

conduct of any trade or commerce,” Tex. Bus. & Com. Code Ann. § 17.46(a), and



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an “unconscionable action or course of action.” Tex. Bus. & Com. Code Ann.

§§ 17.45(a), 17.50(a)(3).

      88.    In the course of their businesses, Defendants violated the Texas

DTPA. As detailed above, Defendants willfully failed to disclose the truth about

the effectiveness of their Products to provide sinus/nasal congestion relief with the

intent that consumers would be induced to purchase their Products. By failing to

disclose that their Products were ineffective in relieving sinus/nasal decongestion,

Defendants engaged in one or more of the following unfair or deceptive acts as

defined in Tex. Bus. & Com. Code § 17.46:

      A.     Representing that goods or services have s uses, benefits, or quantities

             which they do not have or that a person has a sponsorship, approval,

             status, affiliation, or connection which the person does not” Tex. Bus.

             & Com. Code § 17.46(a)(5);

      B.     Representing that goods or services are of a particular standard,

             quality, or grade, or that goods are of a particular style or model, if

             they are of another; Tex. Bus. & Com. Code § 17.46(a)(7); and

      C.     Failing to disclose information concerning goods or services which

             was known at the time of the transaction if such failure to disclose

             such information was intended to induce the consumer into a




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             transaction into which the consumer would not have entered had the

             information been disclosed. Tex. Bus. & Com. Code § 17.46(a)(24).

      89.    Defendants’ failure to disclose the true characteristics of the Products

were material to Plaintiff and Texas State Subclass members’ decision to purchase

the Products, as Defendants intended. Had Plaintiff and the Texas State Subclass

known the truth, Plaintiff and the Texas State Subclass would not have purchased

the Products, or—if the Products true nature had been disclosed, Plaintiff and

Texas State Subclass members would have paid significantly less for the Products.

      90.    Plaintiff and the Texas State Subclass members had no way of

discerning that Defendants’ representations were false and deceptive, or otherwise

learning the facts that Defendants failed to disclose.

      91.    Defendants had an ongoing duty to Plaintiff and the Texas State

Subclass members to refrain from unfair and deceptive practices under the Texas

DTPA in the course of their business. Specifically, Defendants owed Plaintiff and

the Texas State Subclass members a duty to disclose all material facts concerning

the efficacy of their Products and possessed exclusive knowledge and/or they made

misrepresentations that were rendered misleading because they were contradicted

by withheld facts.

      92.    Plaintiff and the Texas State Subclass members reasonably relied on

Defendants’ knowingly false and deceptive statements. As a direct and proximate


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result of Defendants’ false statements and active concealment of material facts

regarding the Products, Plaintiff and Texas State Subclass members have suffered

actual damages in an amount to be determined at trial.

      93.    Defendants’ violations present a continuing risk to Plaintiff and the

Texas State Subclass members, as well as to the general public. Defendants’

unlawful acts and practices complained of herein affect the public interest.

      94.    Pursuant to, Tex. Bus. & Com. Code § 17.50, Plaintiff and the Texas

State Subclass members seek an order enjoying Defendants’ deceptive acts or

practices, and awarding damages, punitive damages, and any other just and proper

relief available under the Texas DTPA.

                            BREACH OF IMPLIED WARRANTY OF
                            MERCHANTABILITY
                      Tex. Bus. & Com. Code Ann. § 2.314
      95.    Plaintiff realleges and incorporates by reference the allegations

contained in each of the preceding paragraphs as if fully set forth herein.

      96.    Plaintiff brings this claim pursuant to Tex. Bus. & Com. Code Ann. §

2.314, et. seq., individually and on behalf of the Texas State Subclasses who were

subject to Defendants’ above-described conduct.

      97.    Defendants were at all times a “merchant” within the meaning of Tex.

Bus. & Com. Code Ann. §§ 2.104(a), and “sellers” withing the meaning of Tex.




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Bus. & Com. Code Ann. §§ 2.103(a)(4), with respect to the Products which were

sold to Plaintiff and Class Members.

      98.    Plaintiff and Class Members are “buyers” within the meaning of Tex.

Bus. & Com. Code Ann. § 2.103(a).

      99.    The Products are and were “goods” within the meaning of Tex. Bus.

& Com. Code Ann. § 2.105.

      100. Defendants impliedly warranted that their Products were of

merchantable quality and fit for their ordinary purpose pursuant to Tex. Bus. &

Com. Code Ann. § 2.314.

      101. Accordingly, each of the Defendants was obligated to provide

Products to Plaintiff and the Class Members that were merchantable quality, were

reasonably fit for the ordinary purpose for which they were sold and conformed to

standards of trade.

      102. Defendants knew or had reason to know of the specific use for which

the Products were purchased. Defendants provided Plaintiff and Class Members

with an implied warranty that the Products were merchantable and fit for the

ordinary purposes for which they were sold. This implied warranty included,

among other things, a warranty that the Products were manufactured, supplied,

distributed, and sold by Defendants, were effective in providing sinus/nasal

decongestion relief.


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      103. By failing to disclose that their Products were ineffective in relieving

sinus/nasal decongestion, Defendants breached their implied warranties because

their Products were not of merchantable quality and fit for their ordinary purpose:

      104. Defendants’ breaches of implied warranties were a direct and

proximate cause of Plaintiff’s and the other Class Members’ damages.

      105. Plaintiff and the Texas State Subclass members seek an order

awarding damages, punitive damages, and any other just and proper relief pursuant

to Tex. Bus. & Com. Code Ann. §§ 2.714 & 2.715.

                               PRAYER FOR RELIEF

      Plaintiff, on behalf of herself and on behalf of the proposed Class and

Subclass, request that the Court:

      a.       Certify this case as a class action, appoint Plaintiff as a class

representative, and appoint Plaintiff’s Counsel as Class Counsel for Plaintiff to

represent the Class and Texas State Subclasses;

      b.       Find that Defendants have committed the violations alleged herein;

      c.       Award Plaintiff and Class Members appropriate relief, including

actual and statutory damages, restitution and disgorgement;

      d.       Award equitable, injunctive and declaratory relief as may be

appropriate;




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       e.    Award all costs, including experts’ fees and attorneys’ fees, and the

costs of prosecuting this action;

       f.    Award pre-judgment and post-judgment interest as prescribed by law;

and

       g.    Grant additional legal or equitable relief as this Court may find just

       and proper.

                                    JURY DEMAND

       Plaintiff demands trial by jury on all issues so triable.

Date: October 6, 2023                       Respectfully submitted,

                                            /s/ James E. Cecchi
                                            James E. Cecchi
                                            CARELLA, BYRNE, CECCHI,
                                              BRODY, & AGNELLO, P.C.
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                                            Roseland, NJ 07068
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                                            Derek W. Loeser
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                                            KELLER ROHRBACK L.L.P.
                                            1201 Third Avenue, Suite 3200
                                            Seattle, WA 98101-3052
                                            Tel.: (206) 623-1900
                                            Fax: (206) 623-3384

                                            Attorneys for Plaintiff
                                            4889-1818740, v. 2




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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                      DEFENDANTS

       Martha A. Page                                                                                  RB HEALTH (US) LLC, et al.,
   (b) County of Residence of First Listed Plaintiff Nueces County, TX                                 County of Residence of First Listed Defendant
                                                                                                                                                                  Morris County, NJ
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                              (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                       NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                  THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                             Attorneys (If Known)
 James E. Cecchi, Carella, Byrne, Cecchi, Brody & Agnello, PC                                           N/A
 5 Becker Farm Road Roseland, New Jersey 07068 - (973) 994-1700

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                 III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                    (For Diversity Cases Only)                                    and One Box for Defendant)

                                                                                                                                                                                                ✓
  1    U.S. Government                 3   Federal Question                                                                  PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                    Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                   of Business In This State

  2    U.S. Government             ✓4 Diversity                                               Citizen of Another State        ✓2             2   Incorporated and Principal Place           5         5
         Defendant                      (Indicate Citizenship of Parties in Item III)                                                              of Business In Another State

                                                                                              Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                 Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                             TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY           625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane                    365 Personal Injury -          of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product                Product Liability      690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability                  367 Health Care/                                                  INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                              PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                        Personal Injury                                             820 Copyrights                    430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’              Product Liability                                           830 Patent                        450 Commerce
  152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                           835 Patent - Abbreviated          460 Deportation
       Student Loans                  340 Marine                          Injury Product                                                  New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product                  Liability                                                   840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                    LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud            710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending           Act                                                                485 Telephone Consumer
  190 Other Contract                      Product Liability           380 Other Personal         720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability
  196 Franchise
                                  ✓   360 Other Personal
                                          Injury
                                                                          Property Damage
                                                                      385 Property Damage
                                                                                                     Relations
                                                                                                 740 Railway Labor Act
                                                                                                                                      861 HIA (1395ff)
                                                                                                                                      862 Black Lung (923)
                                                                                                                                                                        490 Cable/Sat TV
                                                                                                                                                                        850 Securities/Commodities/
                                      362 Personal Injury -               Product Liability      751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                        Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS          790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:             791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                      463 Alien Detainee             Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                           870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                        Sentence                                                         or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations              530 General                                                     871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty              IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment                  Other:                     462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -      540 Mandamus & Other       465 Other Immigration                                                  950 Constitutionality of
                                          Other                       550 Civil Rights               Actions                                                                State Statutes
                                      448 Education                   555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an “X” in One Box Only)
✓1 Original
   Proceeding
                         2 Removed from
                           State Court
                                                           3       Remanded from
                                                                   Appellate Court
                                                                                           4 Reinstated or
                                                                                             Reopened
                                                                                                                        5 Transferred from
                                                                                                                          Another District
                                                                                                                                                  6 Multidistrict
                                                                                                                                                      Litigation -
                                                                                                                                                                                    8 Multidistrict
                                                                                                                                                                                      Litigation -
                                                                                                                          (specify)                   Transfer                        Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                      28 U.S.C. § 1332(d)
VI. CAUSE OF ACTION Brief description of cause:
                      Violations of state consumer protection and common laws for unlawful sale of consumer product.
VII. REQUESTED IN   ✓ CHECK IF THIS IS A CLASS ACTION        DEMAND $                  CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                      JURY DEMAND:         ✓Yes        No
VIII. RELATED CASE(S)
                       (See instructions):        Hon. Kevin McNulty, U.S.D.J.
      IF ANY                                JUDGE                                  DOCKET NUMBER 2:23-cv-20370
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
      10/6/2023                                                       /s/ James E. Cecchi
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                  JUDGE                           MAG. JUDGE
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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
